Case 1:15-cr-00383-RBJ Document 292 Filed 11/20/18 USDC Colorado Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 15-cr-00383-RBJ-01

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1. DANIEL DIRK CODDINGTON,

           Defendant.
______________________________________________________________________

 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
             AGAINST DEFENDANT DANIEL DIRK CODDINGTON
______________________________________________________________________

       THIS MATTER comes before the Court on the United States’ Motion for a

Preliminary Order of Forfeiture [ECF No. 290], pursuant to Rule 32.2(b)(2) of the

Federal Rules of Criminal Procedure. The Court having reviewed the trial record and

applicable law finds:

       THAT on October 5, 2015, the Grand Jury charged defendant Daniel Dirk

Coddington in Counts One through Thirteen with violations of 18 U.S.C. § 1343 and in

Counts Fourteen and Fifteen with violations of 15 U.S.C. §§ 78j(b) and 78ff and 17

C.F.R. § 240.10b-5;

       THAT the Indictment also sought forfeiture in the form of a personal money

judgment against defendant Daniel Dirk Coddington, pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c), in the amount of proceeds obtained by the

scheme and by the defendant;


                                           1
Case 1:15-cr-00383-RBJ Document 292 Filed 11/20/18 USDC Colorado Page 2 of 3




      THAT on July 26, 2018, a jury found defendant Daniel Dirk Coddington guilty of

Counts One through Fifteen, which provides a factual basis and cause to issue a

personal money judgment pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

and Rule 32.2(b), of the Federal Rules of Criminal Procedure; and

      THAT based on the evidence admitted during trial, $4,053,267.00 in proceeds

were obtained by defendant Daniel Dirk Coddington as a result of the scheme to

defraud investors that was not used to purchase CMOs or paid to co-defendant Erwin.

      THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT $4,053,267.00 is the amount of proceeds Defendant Daniel Dirk

Coddington obtained as a result of the commission of the offenses in Counts One

through Fifteen;

      THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

defendant Daniel Dirk Coddington, in the amount of $4,053,267.00, shall be entered in

accordance with 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P.

32.2(b);

      THAT pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Forfeiture

Money Judgment shall become final as to the defendant at the time of sentencing and

shall be made part of the sentence and included in the judgment; and

      THAT this Preliminary Order of Forfeiture may be amended pursuant to the

Federal Rules of Criminal Procedure, Rule 32.2(e)(1).




                                          2
Case 1:15-cr-00383-RBJ Document 292 Filed 11/20/18 USDC Colorado Page 3 of 3




      SO ORDERED this 20th day of November, 2018.


                             BY THE COURT:




                             _________________________________
                             R. BROOKE JACKSON
                             United States District Court Judge




                                      3
